Case 6:09-cr-00124-EEF-PJH        Document 463      Filed 03/07/12     Page 1 of 1 PageID #:
                                         1338



                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                         CRIMINAL NO. 09-cr-00124-10

 VERSUS                                           JUDGE ELIZABETH ERNY FOOTE

 AARON LANDRY                                     MAGISTRATE JUDGE HANNA



                                         ORDER

        For the reasons orally assigned in the Official Transcript of the Plea Hearing of the

 Magistrate Judge in the transcript previously filed herein [Record Document 458], and

 having thoroughly reviewed the record, no written objections having been filed, and

 concurring with the findings of the Magistrate Judge under applicable law;

        IT IS ORDERED that the GUILTY PLEA entered by defendant, Aaron Landry,

 before Magistrate Judge Patrick Hanna is accepted by the Court, pursuant to the provisions

 of F.R.Cr.P. 11.

        THUS DONE AND SIGNED at Shreveport, Louisiana, this 7th day of March 2012.
